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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

NATIONAL TREASURY EMPLOYEES UNION )
1750 H Street, N.W.                            )
Washington, D.C. 20006,                        )
                                               )
                            Plaintiff,         )
                                               )
              v.                               )        Civil Action No. 1:19-cv-50
                                               )
United States of America,                      )
                                               )
and                                            )
                                               )
JOHN MICHAEL MULVANEY, in his                  )
official capacity as Director of the Office of )
Management and Budget                          )
                                               )
                            Defendants.        )
______________________________________________ )


                NOTICE OF VOLUNTARY WITHDRAWAL
          OF NTEU’S MOTIONS FOR PRELIMINARY INJUNCTIONS
                        WITHOUT PREJUDICE

      Plaintiff National Treasury Employees Union hereby withdraws its Motion

for a Preliminary Injunction filed on January 13, 2019 (ECF No. 8) and its Motion

for a Preliminary Injunction filed on January 18, 2019 (ECF No. 15) voluntarily and

without prejudice.
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                      Respectfully submitted,
                      /s/ Gregory O’Duden
                      ___________________________
                      GREGORY O’DUDEN
                      General Counsel

                      /s/ Larry J. Adkins
                      ___________________________
                      LARRY J. ADKINS
                      Deputy General Counsel

                      /s/ Paras N. Shah
                      ___________________________
                      PARAS N. SHAH
                      Assistant Counsel

                      /s/ Allison C. Giles
                      ___________________________
                      ALLISON C. GILES
                      Assistant Counsel

                      /s/ Jessica Horne
                      ___________________________
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                      Assistant Counsel

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January 25, 2019      Attorneys for Plaintiff NTEU
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                            CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was filed electronically through

the Court’s CM/ECF system on January 25, 2019. I further certify that this filing

was served electronically to all counsel of record in this matter by operation of the

Court’s electronic filing system.

                           /s/ Jessica Horne
                           ___________________________
                           JESSICA HORNE
                           Assistant Counsel

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January 25, 2019           Attorney for Plaintiff NTEU
